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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 21-5254                                                 September Term, 2021
                                                                     1:21-cv-02769-TSC
                                                       Filed On: November 11, 2021
Donald J. Trump, in his capacity as the 45th
President of the United States,

              Appellant

       v.

Bennie G. Thompson, in his official capacity
as Chairman of the United States House
Select Committee to Investigate the January
6th Attack on the United States Capitol, et al.,

              Appellees


       BEFORE:       Millett, Wilkins, and Jackson, Circuit Judges

                                         ORDER

       Upon consideration of the emergency motion for an administrative injunction and
for expedited briefing schedule, it is

       ORDERED that an administrative injunction be entered and appellees the
National Archives and Records Administration and the Archivist be enjoined from
releasing the records requested by the House Select Committee over which appellant
asserts executive privilege, pending further order of this court. The purpose of this
administrative injunction is to protect the court’s jurisdiction to address appellant’s
claims of executive privilege and should not be construed in any way as a ruling on the
merits. See D.C. Circuit Handbook of Practice and Internal Procedures 33 (2021). It is

       FURTHER ORDERED that the motion for an expedited briefing schedule, which
the court construes as a motion to expedite consideration of the appeal of the district
court’s order denying the motion for a preliminary injunction, be granted. The following
briefing schedule will apply:

              Appellant’s Brief                    November 16, 2021 (12:00 noon)

              Joint Appendix                       November 16, 2021 (12:00 noon)
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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 21-5254                                                 September Term, 2021

              Appellees’ Briefs                   November 22, 2021 (12:00 noon)

              Appellant’s Reply Brief             November 24, 2021 (12:00 noon)

       Oral argument will be held before this panel on November 30, 2021, at 9:30 a.m.

        All issues must be raised by appellant in the opening brief. The court ordinarily
will not consider issues and arguments raised for the first time in the reply brief.

       To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
statutes with widely recognized initials, briefs should not contain acronyms that are not
widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43
(2021); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

       The parties are directed to file their briefs electronically on the date and time due,
and to submit paper copies as soon as possible thereafter. All briefs and appendices
must contain the date that the case is scheduled for oral argument at the top of the
cover. See D.C. Cir. Rule 28(a)(8).



                                         Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Amanda Himes
                                                          Deputy Clerk




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